Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 1 of 10 PageID 268




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

 BEN DAVIS, individually and              )
 on behalf of all others similarly        )
 situated,                                )
                                          )
                                                  CASE NO.: 8:23-CV-02333
       Plaintiff,                         )
                                          )
 v.                                       )
                                          )
 CR FITNESS HOLDINGS, LLC,                )
                                          )
       Defendant.                         )

                    ANSWER AND AFFIRMATIVE DEFENSES

      In response to Plaintiff Ben Davis’s Amended Complaint (“Plaintiff”),

Defendant CR Fitness Holdings, LLC (“CRFH”) files its Answer and Affirmative

Defenses, stating as follows:

                            NATURE OF THE ACTION

1.    Paragraph 1 consists of a quotation from a Supreme Court case to which no

response is required.

2.    Paragraph 2 consists of a description of the Telephone Consumer Protection

Act (“TCPA”). CRFH states that the TCPA speaks for itself and denies the allegations

in Paragraph 2 to the extent they are inconsistent with the TCPA.

3.    Denied.

                                     PARTIES

4.    CRFH is without sufficient information to admit or deny the allegations in

Paragraph 4.
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 2 of 10 PageID 269




5.    Admitted.

6.    Admitted.

                              JURISDICTION & VENUE

7.    CRFH denies Plaintiff has established entitlement to bring a class action but

admits Plaintiff alleges violations of the TCPA. CRFH denies any remaining

allegations in Paragraph 7.

8.    Admitted.

9.    CRFH states that the phrase “emanated from Tampa, Florida” is vague and

ambiguous, and so CRFH can neither admit nor deny this allegation. CRFH denies

the remaining allegations in Paragraph 9.

10.   Admitted for venue purposes only; otherwise, the allegations of Paragraph 10

are denied.

        THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

11.   Paragraph 11 consists of a description of the TCPA. CRFH states that the

TCPA speaks for itself and denies the allegations in Paragraph 11 to the extent they

are inconsistent with the TCPA.

12.   Paragraph 12 consists of a description of the TCPA. CRFH states that the

TCPA speaks for itself and denies the allegations in Paragraph 12 to the extent they

are inconsistent with the TCPA.

13.   Paragraph 13 consists of a description of the TCPA. CRFH states that the

TCPA speaks for itself and denies the allegations in Paragraph 13 to the extent they

are inconsistent with the TCPA.
                                            2
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 3 of 10 PageID 270




14.   Paragraph 14 consists of a description of an FCC Order. CRFH states that the

FCC Order speaks for itself and denies the allegations in Paragraph 14 to the extent

they are inconsistent with the FCC Order.

15.   Denied.

16.   Denied.

                            FACTUAL ALLEGATIONS

17.   Admitted.

18.   CRFH denies it is engaged in an aggressive expansion plan. CRFH states that

the two articles cited in Paragraph 18 speak for themselves and denies the allegations

in Paragraph 18 to the extent they are inconsistent with the articles.

19.   Admitted.

20.   Denied.

21.   Denied.

22.   CRFH is without sufficient information to admit or deny the allegations in

Paragraph 22, and therefore denies them.

23.   Denied.

24.   CRFH is without sufficient information to admit or deny the allegations in

Paragraph 24, and therefore denies them.

25.   Paragraph 25 consists of a quotation of the prerecorded message. CRFH states

that the message speaks for itself and denies the allegations in Paragraph 25 to the

extent they are inconsistent with the message.



                                           3
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 4 of 10 PageID 271




26.   CRFH is without sufficient information to admit or deny the allegations in

Paragraph 26, and therefore denies them.

27.   Denied.

28.   In response to the allegations in Paragraph 28, CRFH states that it employs a

vendor to place a pre-recorded telephone message and that it has access to the vendor’s

transmission reports. CRFH denies any pre-recorded telephone message was placed

by CRFH or its vendor to Plaintiff and denies all class allegations.

29.   CRFH denies it placed a prerecorded sales or marketing call to Plaintiff’s

cellular telephone number. CRFH only places calls to numbers that have provided

prior express written consent, and on that basis denies the allegations in Paragraph 29.

30.   CRFH denies it placed a prerecorded sales or marketing call to Plaintiff’s

cellular telephone number, and is without sufficient information to admit or deny the

allegations in Paragraph 30, and therefore denies them.

31.   Denied

32.   Denied.

                              CLASS ALLEGATIONS

33.   Paragraph 33 consists of a description of Plaintiff’s intent to bring a class action.

CRFH denies Plaintiff should be permitted to bring a class action and denies there are

any other “similarly situated persons pursuant to Federal Rule of Civil Procedure 23.”

To the extent any further response is required, CRFH denies the allegations in

Paragraph 33.



                                            4
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 5 of 10 PageID 272




34.   Paragraph 34 consists of a description of Plaintiff’s proposed class. CRFH

denies Plaintiff should be permitted to bring a class action on behalf of any class,

including the proposed “TCPA Class.”

35.   Paragraph 35 consists of a description of Plaintiff’s proposed class. CRFH

denies Plaintiff should be permitted to bring a class action on behalf of any class,

including the proposed “TCPA Class.”

36.   Denied.

37.   Denied.

38.   Denied.

39.   Denied.

40.   Denied.

41.   Denied.

42.   Denied.

43.   CRFH is without sufficient information to admit or deny the allegations in

Paragraph 43, and therefore denies them.

44.   Denied.

45.   Denied.

46.   Denied.

47.   Denied.

48.   Paragraph 48 consists of a description of the relief sought by Plaintiff. CRFH

denies Plaintiff is entitled to any relief under this Amended Complaint on an



                                           5
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 6 of 10 PageID 273




individual basis or as a representative of the proposed “TCPA Class” or any other

class.

49.      Denied.

                                       COUNT I
                         Telephone Consumer Protection Act
                       Violations of 47 U.S.C. § 227(b)(1)(A)(iii)
                       (On Behalf of Plaintiff and the TCPA Class)

50.      CRFH incorporates by reference its responses to the foregoing paragraphs.

51.      Paragraph 51 consists of a quotation from the TCPA. CRFH states that the

TCPA speaks for itself and denies the allegations in Paragraph 51 to the extent they

are inconsistent with the TCPA.

52.      Paragraph 52 consists of a quotation from FCC regulations. CRFH states that

the regulations speak for themselves and denies the allegations in Paragraph 52 to the

extent they are inconsistent with the regulations.

53.      Paragraph 53 consists of a quotation from FCC regulations. CRFH states that

the regulations speak for themselves and denies the allegations in Paragraph 53 to the

extent they are inconsistent with the regulations.

54.      Denied.

55.      Denied.

56.      Denied.

57.      Denied.

58.      Denied.




                                           6
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 7 of 10 PageID 274




                               PRAYER FOR RELIEF

       In response to the Prayer for Relief, including the subparagraphs numbered (a)

through (f), CRFH denies that Plaintiff is entitled to any damages or other relief on an

individual or class basis.

                             DEMAND FOR JURY TRIAL

       CRFH acknowledges that Plaintiff has demanded a trial by jury on all issues so

triable. CRFH does not itself demand a trial by jury.

                             AFFIRMATIVE DEFENSES

       CRFH asserts the following defenses without assuming the burden of any such

defense that would otherwise rest on Plaintiff and with the express reservation of right

to amend or supplement its Answer or Affirmative Defenses as further information is

gathered in this case.

                    First Affirmative Defense (Lack of Standing)

       Plaintiff lacks standing to pursue the claims and allegations in the Complaint.

               Second Affirmative Defense (Failure to State a Claim)

       Plaintiff has failed to state any claim upon which relief may be granted.

                 Third Affirmative Defense (Lack of Transmission)

       Without assuming the burden of proof, CRFH never initiated the transmission

of any pre-recorded message to the phone number set out in Plaintiff’s Amended

Complaint.




                                           7
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 8 of 10 PageID 275




          Fourth Affirmative Defense (Comparative or Contributory Fault)

      Plaintiff is comparatively or contributorily at fault for any alleged damages.

              Fifth Affirmative Defense (Failure to Mitigate Damages)

      If Plaintiff suffered any damages as a result of facts alleged in his Complaint,

which CRFH denies, Plaintiff is not entitled to recover the amount of damages alleged

or any damages due to his failure to make reasonable efforts to mitigate or minimize

the damages incurred.

             Sixth Affirmative Defense (Lack of Proximate Causation)

      Plaintiff’s alleged damages were proximately caused by the acts or omissions of

third parties and not by the acts or omissions of CRFH.

                Seventh Affirmative Defense (Economic Loss Rule)

      Plaintiff’s claims are barred by the economic loss rule.

           Eighth Affirmative Defense (Statute of Limitations or Laches)

      Some or all of the claims in the Complaint are barred by the statute of

limitations and/or laches.

                        Ninth Affirmative Defense (Estoppel)

      Plaintiff’s claims are estopped, judicially estopped and/or should be equitably

estopped by virtue of his own acts and/or the acts or omissions of others chargeable

to him.

                    Tenth Affirmative Defense (Unclean Hands)

      The Complaint should be barred due to the unclean hands of Plaintiff, by virtue

of his own acts and/or the acts or omissions of others chargeable to Plaintiff.

                                           8
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 9 of 10 PageID 276




               Eleventh Affirmative Defense (Adequate Remedy at Law)

      Plaintiff’s request for injunctive relief is barred because to the extent his claims

have merit, which CRFH denies, Plaintiff has an adequate remedy at law for damages.

     Twelfth Affirmative Defense (Lack of Commonality and/or Typicality)

      Without assuming the burden of proof, Plaintiff’s claims do not involve

questions of law or fact common to members of the purported class and/or typical to

any claims of members of the purported class, and so the class allegations in the

Amended Complaint are due to be struck.

                          Additional Affirmative Defenses

      CRFH reserves the right to amend and supplement its affirmative defenses as

the case progresses to include any applicable defense of law or fact.

      WHEREFORE, CRFH respectfully requests the Court deny Plaintiff his

requested relief and award CRFH such relief as the Court may deem just and

appropriate.

Respectfully submitted:

/s/ Alexis Buese                           /s/ Stephen C. Parsley
Alexis Buese (Fla. Bar No. 95777)          Stephen C. Parsley (Fla. Bar No. 117884)
Jacob Hanson (Fla. Bar No. 91453)          BRADLEY ARANT BOULT CUMMINGS LLP
BRADLEY ARANT BOULT CUMMINGS 1819 Fifth Avenue North
LLP                                        Birmingham, AL 35203
100 North Tampa Street, Suite 2200         Telephone: (205) 521-8675
Tampa, FL 33602                            Fax: (205) 448-6675
Telephone: (813) 559-5500                  Primary email: sparsley@bradley.com
Fax: (813) 229-5946                        Secondary email: vrobertson@bradley.com
Primary Email: abuese@bradley.com
Primary Email: jhanson@bradley.com
                        Counsel for CR Fitness Holdings, LLC

                                           9
Case 8:23-cv-02333-SDM-AEP Document 42 Filed 06/14/24 Page 10 of 10 PageID 277




                           CERTIFICATE OF SERVICE

       I hereby certify on June 14, 2024, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system which will send notification to counsel

 of record.


                                           /s/ Alexis A. Buese
                                           Alexis A. Buese




                                          10
